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EXHIBIT 1
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41/27/2019 3°30 PM

Marilyn Burgess - District Clark Harris County
Envelope No. 38860185

By: Joshua Carroll

Filed: 11/27/2019 3:36 PM

CAUSE NO.
CEMJ INVESTMENT, INC. § IN THE DISTRICT COURT OF
Plaintiff, §
§
§
v. § HARRIS COUNTY, TEXAS
§
WESTCHESTER SURPLUS LINES §
INSURANCE COMPANY, §
Defendant. § (eS JUDICIAL DISTRICT

 

PLAINTIFF’S ORIGINAL PETITION

 

COMES NOW, CEM] Investment, Inc. (hereinafter collectively referred to as “Plaintiff”
and/or “CEMJ”), complaining of Westchester Surplus Lines Insurance Company (hereinafter
referred to as “Westchester” and/or Defendant”) and respectfully show as follows:

L.
DISCOVERY CONTROL PLAN
l. Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas
Rules of Civil Procedure. This case volves complex issues and will require extensive
discovery. Therefore, Plaintiff asks the court to order that discovery be conducted in accordance

with a discovery control plan tailored to the particular circumstances of this suit.

HH.
PARTIES
2, Plaintiff is a domestic Texas corporation.
3. Defendant Westchester is an insurance company engaging in the business of insurance in

the State of Texas, Defendant may be served with process through their registered agent, Saverio

Rocca, Assistant General Counsel, ACE Group of Insurance Companies. at 436 Walnut Strect,
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Philadelphia, PA 19106-3703, with further forwarding to Texas Department of Insurance. Texas
Commissioner of Insurance, 333 Guadalupe, PO Box 149104, Austin, Texas 78714-9104.
4, The Clerk is requested to issue Citations.

TK.
JURISDICTION

5. Plaintiff seeks monetary relief more than $200,000 but not exceeding $1,000,000. Such
damages sought are within the jurisdictional limits of the court. Plaintiff contends that the
determination of damages is within the sole discretion of the Judge and Jury, but makes
stipulation as required by TEx.R.Civ.P. § 47.
6. The court has jurisdiction over Defendant Westchester because this Defendant engages
in the business of insurance in Texas, and because Plaintiff's causes of action arise out of this
Defendant’s business activities in Texas.

IV.
VENUE

7. Venue is proper in Harris County, Texas, because the insured property giving rise to this
cause of action is situated in Harris County, Texas. TEX.CIV.PRAC.REM.CODE §15.032.

Vv.
NOTICE AND CONDITIONS PRECEDENT

8. Defendant has been provided notice, in writing, of the claims made by Plaintiff in this
petition, including Plaintiff's actual damages, in the manner and form required pursuant to
TEX.INS. CODE § $42A.003. Plaintiff has received a copy of such notice.
9, All other conditions precedent to suit or payment under the policy have been satisfied by
Plaintiff, excused or waived by Defendant, or Plaintiff is excused from performance due to

Defendant’s prior breach of the policy.

 

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FACTS
10. Plaintiff is the owner of property located at 3930 Fuqua Street, Houston, Texas 77047
(the “Property”). The Property was insured by insurance policy number D39289945, issued by
Defendant Westchester (the “Policy”). Plaintiff is the owner of the Policy.
11. On or about August 26, 2017, or another time when the Policy was in effect, a severe
weather storm, namely Hurricane Harvey, caused substantial damage to the Property and
constituted a covered loss under the Policy. Shortly after the storm, Plaintiff made a claim (claim
no. KY17K2241096) for the loss (hereinafter referred to as the “Claim”), and demand for
payment on Defendant for damages to the Property and other damages covered by the terms of
the Policy pursuant to the Claim. After Plaintiff made the Claim, Defendant failed to comply
with the Policy. the Texas Insurance Code and Texas law in handling Plaintiff's claim. Further,
Defendant has refused to pay all amounts due and owing under the Policy for the Claim.
12. Defendant retained an adjuster with McLarens, Inc. to investigate Plaintiffs Claim.
Defendant’s adjuster failed to conduct a proper investigation of Plaintiff's Claim after becoming
aware of the storm-caused damages. The adjuster failed to properly evaluate or investigate the
Claim. Defendant relied on the adjuster’s misrepresentations in the denial of Plaintiff's Claim.
13. Specifically, Defendant’s adjuster failed to quantify the full extent of damages at the
Property, particularly by omitting wind damages from his report. Defendant grossly undervalued
the Property damages which resulted in the improper denial of Plaintiff's Claim.
14, Defendant's adjuster prepared an estimate which grossly undervalued the full extent of
covered losses at the Property and omitted numerous areas of actual damages.
15. Defendant also retained Madsen Kneppers & Associates, Inc. (“MKA) to investigate the

Claim. Defendant initially represented that they retained an engineer with MKA, however, the

 

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retained individual did not possess an engincering license but was merely a building consultant.
This is an example of Defendant’s misrepresentations regarding the investigation, and their
failure to retain a qualified consultant like they had represented.

16. Defendant commonly engages the services of consultants such as MKA due to their
favorable results for insurers such as Defendant. Defendant retained MKA for the specific
purpose of ensuring their reports pursuant to the Claim were favorable to Defendant.

17. MKA performed an inadequate investigation of the Claim. MKA inspected the Property
on approximately November 15, 2017. During their inspection, the consultant ignored the
obvious storm-caused damages at the Property. The Property experienced high wind speeds as a
result of Hurricane Harvey, which were acknowledged in MKA’s report. Despite the obvious
wind damage, the report failed 10 quantify the impact of the high winds to the Property and roof.
The report also failed to acknowledge the storm-created openings in the roof which allowed
water intrusion to damage the interior. Instead of acknowledging these damages, MKA
misrepresented that the damages at the Property may have been due to aging. deterioration, and
other causes. The storm-caused damages were, or should have been, evident to MKA during
their investigation but were intentionally ignored. Defendant relied on MKA’s
misrepresentations in the denial of Plaintiff's Claim.

18. After the wrongful denial of their Claim, Plaintiff was forced to retain a Public Adjusting
firm to assist in the investigation of the Claim.

19. Defendant's acts and omissions, through their breach of contract, misrepresentations of
the covered losses and policy terms, breach of the common law duty of good faith and fair
dealing, and violations of the Texas Insurance Code, caused Plaintiff to retain a Public Adjusting

firm. Consequently, Plaintiff was forced to relinquish a portion of any subsequent payment on

 

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the Claim in order to retain the services of a Public Adjusting firm, Therefore, Plaintiff is entitled
to recover a sum for these direct and foreseeable consequential damages from Defendant’s
wrongful acts and omissions.

20. ‘Plaintiff's Public Adjuster inspected the Property and noted numerous areas of storm-
caused damages that were omitted from Defendant’s prior investigation. Plaintiff's Public
Adjuster presented this estimate to Defendant. After Defendant received the estimate evidencing
the full extent of covered losses, Defendant ignored this information and failed to perform a
proper reinvestigation. Defendant continued to rely on prior misrepresentations about the
damages and the Policy terms in the wrongful denial of Plaintiff's Claims.

21. Further, Defendant delayed the final resolution of the Claim without providing any
proper explanation for their delay. Defendant engaged in negotiations with Plaintiff's Public
Adjuster and represented that Defendant may accept coverage and may issue some payment, but
then later outright denied the Claim without any proper explanation. Defendant’s intention was
to delay the resolution of the Claim through their deceptive acts.

22. Defendant has continued to refuse to pay Plaintiff the full amount owed under the Policy
for the Claim. Defendant continues to rely on misrepresentations about the damages in the denial
of Plaintiff's Claim. Defendant continues to delay the proper resolution of Plaintiff's Claim by
refusing to incorporate and acknowledge the covered losses at the Property.

23. The covered losses at the Property were obvious to Defendant and their consultants from
the outset of the investigation. Despite this. Defendant continued to ignore the covered losses and
relied on numerous misrepresentations about the covered losses and the Policy terms in an effort

to avoid full payment under the Policy. Defendant has since refused to provide any payment for

the Claim as owed under the Policy.

 

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24. ~=Asa result of Defendant’s acts and omissions, Plainuff was forced to seck counsel to
pursue their rights for the Claim made to Defendant.

25, Pursuant to the Claim, Defendant misrepresented to Plaintiff that the damage to the
Property was below the deductible, and thus not covered under the Policy, even though Property
exhibited clear high-wind damage from the reported date of loss. The damage to the Property
evidently exceeded the deductible amount, thus, the damage was a covered occurrence. In
addition, the damage was covered by a covered cause of loss under the Policy. Defendant’s
conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX.INS.CODE § 541 .060(a)(1).

26. Defendant failed to make an attempt to settle Plaintiff's Claim in a fair manner, although
Defendant was aware of its liability to Plaintiff under the Policy. Defendant’s conduct
constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.INS.CODE
§ 541.060(a)(2)(a).

27. Defendant failed to explain to Plaintiff the reasons for its offer of an inadequate
settlement pursuant to the Claim. Specifically, Defendant failed to offer Plaintiff adequate
compensation, without any explanation why full payment was not being made. Furthermore,
Defendant did not provide any adequate explanation for the failure to properly settle Plaintiff's
claim. Defendant’s conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX.INS.CoDE § 541,060(a)(3).

28. Defendant failed to affirm or deny coverage of Plaintiffs Claim within a reasonable time.
Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding the
full and entire claims, in writing from Defendant. Defendant’s conduct constitutes a violation of

the Texas Insurance Code, Unfair Settlement Practices. Tex.INs.Cope § 541 .060(a)(4).

 

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29. Defendant refused to fully compensate Plaintiff, for the Claim under the terms of the
Policy, even though Defendant failed to conduct u reasonable investigation. Specifically,
Defendant performed an outcome-oriented investigation of Plaintiff's Claim, which resulted in a
biased, unfair and inequitable evaluation of Plaintiff's Claim, which resulted in a biased, unfair
and inequitable evaluation of Plaintiff's two losses on the Property. Defendant’s conduct
constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.INS.CODE §
S41.060(a){7).

30. Defendant failed to meet its obligations under the Texas Insurance Code regarding the
timely acknowledgement of Plaintiff's Claim, beginning an investigation of Plaintiff's Claim and
requesting all information reasonably necessary to investigate Plaintiff's Claim within the
statutorily mandated time of receiving notice of Plaintiffs Claim. Defendant’s conduct
constitutes a violation of the Texas Insurance Code, Prompt Payment of Claim. TEX.INS.CODE §
542.055.

31. Defendant failed to accept or deny Plaintiff's full and entire Claim within the statutorily
mandated time of receiving all necessary information. Defendant’s conduct constitutes a
violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.INS.CODE § 542.056.

32. Defendant failed to meet its obligations under the Texas Insurance Code regarding
payment of the Claim without delay. Specifically, Defendant has delayed full payment of
Plaintiff's Claim longer than allowed and, to date, Plaintiff has not yet received full payment for
Plaintiff's claim, Defendant’s conduct constitutes a violation of the Texas Insurance Code.
Prompt Payment of Claims. TEX.INS.CODE § 541.058.

33. From and after the time Plaintiff's Claim were presented to Defendant, the liability of

Defendant to pay the full Claim in accordance with the terms of the Policy were reasonably

 

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clear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis
whatsoever on which a reasonable insurance company would have relied on to deny the full
payment. Defendant's conduct constitutes a breach of the common law duty of good faith and
fair dealing.

34. Defendant knowingly or recklessly made false representations. as described above, as to
material facts and/or knowingly concealed material information from Plaintiff.

35. Asaresult of Defendant’s wrongful acts and omissions, Plaintiff was forced to retain the
professional services of the law firm who is representing Plaintiff with respect to these causes of
action,

VIL.
CAUSES OF ACTION AGAINST DEFENDANT WESTCHESTER

36. Defendant Westchester is liable io Plaintiff for intentional breach of contract, as well as
intentional violations of the Texas Insurance Code and intentional breach of the common law
duty of good faith and fair deating.
37. Plaintiff reincorporates and realleges each and every allegation in the preceding
paragraphs as if fully set forth herein.

A. Breach of Contract.

38. The Policy is a valid, binding and enforceable contract between Plaintiff and Defendant
Westchester. Defendant breached the contract by refusing to perform its obligations under the
terms of the Policy and pursuant to Texas law. Defendant’s breach proximately caused Plaintiff
injuries and damages. All conditions precedent required under the Policy have been performed,
excused, waived or otherwise satisfied by Plaintiff, or Defendant is estopped from raising the
issue due to Defendant's prior breach of the insurance contract.

B. Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

 

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39. The conduct, acts, and/or omissions by Defendant constituted Unfair Settlement Practices
pursuant to TEx. INs. CODE.§541.060(a). All violations under this article are made actionable by
TEX.INS.CODE §541.151.

40. Defendant’s unfair settlement practice, as described above, of misrepresenting to Plaintiff
material facts relating to the coverage at issue, constitutes an unfair method of competition and
an unfair and deceptive act or practice in the business of insurance. TEX.INS.CODE §541.060(1).
41. | Defendant’s unfair settlement practice, as described above, of failing to attempt in good
faith to effectuate a prompt, fair, and equitable settlement of the claim, even though Defendant’s
liability under the Policy was reasonably clear, constitutes an unfair method of competition and
an unfair and deceptive act or practice in the business of insurance. Tex.INS.CODE
§541.060(2)(A).

42, Defendant's unfair settlement practice, as described above, of failing to promptly provide
Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or
applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair
method of competition and an unfair and deceptive act or practice in ihe business of insurance.
TEX.INS.CODE §541.060(3).

43. Defendant's unfair settlement practice, as described above, of failing within a reasonable
time to affirm or deny coverage of the claim to Plaintiff or to submit a reservation of rights to
Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or practice
in the business of insurance. TEX.INS.CODE §541.060(4).

44. Defendant’s unfair settlement practice, as described above, of refusing to pay Plaintiff's

Claim without conducting a reasonable investigation, constitutes an unfair method of

 

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competition and an unfair and deceptive act or practice in the business of insurance.
TEX.INS.CODE §541.060(7).

45. | Defendant’s conduct described above compelled Plaintiff to initiate a lawsuit to recover
amounts due under its policy by offering substantially less than the amount ultimately recovered.

Defendant refused to even offer more than its own grossly undervalued estimates despite actual

damages which were much greater. This continued failure compelled Plaintiff to file suit.
TEX.INS.CODE §542.003(5).

Cc. Prompt Payment Of Claims Violations.
46. The Claim is a claim under an insurance policy with Defendant Westchester of which
Plaintiff gave Defendant notice. Defendant is liable for the Claim. Defendant violated the
prompt payment of claims provisions of TEX. INS. CODE § 542.051, ef seg. by:

a) Failing to acknowledge receipt of the Claim, commence investigation of the Claim,
and/or request from Plaintiff all items, statements, and forms that Defendant
reasonably believed would be required within the time constraints provided by TEX.
INS. CODE §542.055. Specifically. Defendant failed to commence a proper
investigation of the Claim with qualified consultants, like they had represented.
Defendant failed to request the documents and other forms it required to properly
adjust Plaintiff's Claim within a reasonable time and manner. Defendant failed to
provide a proper acknowledgement of the Claim. Defendant retained biased
consultants and adjusters to investigate the Claim with knowledge that their
consultants and adjusters would produce favorable results for them to help aid in the
denial of Plaintiff's Claim.;

b) Failing to notify Plaintiff in writing of its acceptance or rejection of the Claim within
the applicable time constraints provided by TEx. Ins. Cope §542.056. Defendant
failed to provide Plaintiff with a proper explanation of their Claim decision.
Defendant delayed resolution of the Claim without a proper explanation for their
delay, and ihen relied on numerous misrepresentations in the denial of Plaintiff's
Claim without a proper explanation for their reasoning behind their denial; and/or by

c) Delaying payment of the Claim following Defendant's receipt of all items,
statements, and forms reasonably requested and required, longer than the amount of
time provided by Tex, INs. CODE §542.058. To date, Defendant has refused to pay the
full amount owed under the Policy for the Claim. Defendant continues to delay full
resolution of the Claim by refusing to properly adjust Plaintiff's Claim.

 

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47. Defendant’s violations of these prompt payment of claims provisions of the Texas
Insurance Code are made actionable by TEX.INS.CODE §542.060.

D. Breach Of The Duty Of Good Faith And Fair Dealing.
48. Defendant breached the common law duty of good faith and fair dealing owed to Plaintiff
by denying or delaying payment on the Claim when Defendant knew or should have known that
its liability to Plaintiff were reasonably clear. Defendant’s conduct proximately caused Plaintiff
injuries and damages.

VIH,
DECLARATORY JUDGMENT/SUIT FOR REFORMATION

49. Pursuant to the Texas Declaratory Judgment Act, Plaintiff is entitled to a declaration that
the named insured identified in the Policy is incorrect, that the Plaintiff and Defendant
Westchester intended for the named insured to be CEMJ Investment, Inc.. and that the Policy
provides coverage to CEMJ Investment, Inc. for the losses described herein, regardless of the
incorrect entity named in the Policy. There was a meeting of the minds of the parties that the
named insured be CEMJ Investment, Inc.. not CEM] Investments, Inc. There is no entity called
CEM Investments, inc. In fact, when Plaintiff initially became aware of the incorrect entity
name in the Policy, Plaintiff requested to have the Policy name changed to the correct entity.
Defendant Westchester acknowledged such, and returned to Plaintiff a Policy Change
Endorsement, albeit inadvertently failing to correctly name the entity as CEMJ Investment, Inc.
There is no question that the parties intended to use the correct legal name of CEMJ Investment,
Inc. Plaintiff moves to reform the Policy such that the named insured is corrected to be CEMJ
Investment, Inc. Plaintiff does not believe that the reformation is necessary for recovery as

CEMJ Investment, Inc. is the entity that purchased the policy and is the real party in interest.

 

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Plaintiff wishes the misnomer be corrected.

IX.
KNOWLEDGE

50. Each of the Defendant’s acts described above, together and singularly, was done
“knowingly” as that term is used in the Texas Insurance Code and was a producing cause of
Plaintiff’s damages described herein.

x.
DAMAGES

31. Plaintiff will show that all the aforementioned acts, taken together or singularly,
constitute the producing causes of the damages sustained by Plaintiff.

§2. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff's bargain,
which is the amount of Plaintiffs claim. together with attorney fees.

53. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff
is entitled to actual damages. which include the loss of the benefits that should have been paid
pursuant to the Policy, court costs and attorney’s fees. For knowing conduct of the acts
complained of, Plaintiff asks for three times Plaintiff's actual damages. TEx.INS.CODE §541.152.
54. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is
entitled to the amount of Plaintiff's claim, penalty interest per annum (calculated by adding five
(5) percent to the current interest rate as determined by the Board of Governors of the Federal
Reserve System) of the amount of Plaintiff’s claim as damages, together with attorney's fees.
TEX.INS.CODE §542.060.

55. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer’s breach of duty,

 

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such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer
owed, exemplary damages and damages for emotional distress.

56. Defendant’s acts and omissions, through their breach of contract, breach of the common
law duty of good faith and fair dealing, and violations of the Texas Insurance Code, caused
Plaintiff to retain a Public Adjusting firm and relinquish a portion of any payment made on the
Claim for the services provided by the Public Adjusting firm. Therefore, Plaintiff is entitled to
recover a sum for these direct and foreseeable consequential damages ftom Defendant's
wrongful acts and omissions.

57. For the prosecution and collection of this claim, Plaintiff has been compelled to engage
the services of the law firms whose names are subscribed to this pleading. Therefore, Plaintiff is
entitled io recover a sum for the reasonable and necessary services of Plaintiff's attorneys in the
preparation and trial of this action, including any appeals to the Court of Appeals and/or the
Supreme Court of Texas.

XI.
JURY DEMAND

58. Plaintiff hereby requests a jury trial and tenders the appropriate jury fee.

XI.
REQUEST FOR DISCLOSURE

59. Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose
the information or material described in Rule 194.2.

XIII.
PRAYER

60. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,
Plaintiff has and recover such sums as would reasonably and justly compensate Plaintiff in

accordance with the rules of law and procedure, both as to actual damages, statutory penalties

 

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and interest, treble damages under the Texas Insurance Code and all punitive and exemplary
damages as may be found. In addition, Plaintiff requests the award of attorney's fees for the trial
and any appeal of this case, for all costs of Court on their behalf expended, for pre-judgment and
post-judgment interest as allowed by law, and for any other and further relief, either at law or in
equity, to which Plaintiff may show itself to be justly entitled.

Respectfully submitted,

GREEN & KLEIN

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